Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 1 of 7 PAGEID #: 2




                                                   2:22-mj-744
Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 2 of 7 PAGEID #: 3
Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 3 of 7 PAGEID #: 4
Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 4 of 7 PAGEID #: 5
Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 5 of 7 PAGEID #: 6




18
Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 6 of 7 PAGEID #: 7
Case: 2:22-mj-00744-EPD Doc #: 1-1 Filed: 11/18/22 Page: 7 of 7 PAGEID #: 8
